                                                                                        5HY


                           /2&$/%$1.5837&<)250

                    ,17+(81,7('67$7(6%$1.5837&<&2857
                  )257+(0,''/(',675,&72)3(116</9$1,$

 ,15(                                             &+$37(5

 Dorsey M. Hauck Jr.                                  &$6(124CL
                                                                        23
 Stephanie E. Hauck
                                                     ✔
                                                     BBB25,*,1$/3/$1
                                                     BBB$0(1'('3/$1 ,QGLFDWHVWQGUGHWF 

                                                     BBB1XPEHURI0RWLRQVWR$YRLG/LHQV
                                                     BBB1XPEHURI0RWLRQVWR9DOXH&ROODWHUDO

                                     &+$37(53/$1

                                            127,&(6
'HEWRUVPXVWFKHFNRQHER[RQHDFKOLQHWRVWDWHZKHWKHURUQRWWKHSODQLQFOXGHVHDFKRIWKH
IROORZLQJLWHPV,IDQLWHPLVFKHFNHGDV³1RW,QFOXGHG´RULIERWKER[HVDUHFKHFNHGRULI
QHLWKHUER[LVFKHFNHGWKHSURYLVLRQZLOOEHLQHIIHFWLYHLIVHWRXWODWHULQWKHSODQ

  7KHSODQFRQWDLQVQRQVWDQGDUGSURYLVLRQVVHWRXWLQ              ,QFOXGHG   ✔ 1RW
    ZKLFKDUHQRWLQFOXGHGLQWKHVWDQGDUGSODQDVDSSURYHGE\WKH                         ,QFOXGHG
    86%DQNUXSWF\&RXUWIRUWKH0LGGOH'LVWULFWRI
    3HQQV\OYDQLD
  7KHSODQFRQWDLQVDOLPLWRQWKHDPRXQWRIDVHFXUHGFODLPVHW       ,QFOXGHG   ✔     1RW
    RXWLQ(ZKLFKPD\UHVXOWLQDSDUWLDOSD\PHQWRUQR                               ,QFOXGHG
    SD\PHQWDWDOOWRWKHVHFXUHGFUHGLWRU
  7KHSODQDYRLGVDMXGLFLDOOLHQRUQRQSRVVHVVRU\QRQSXUFKDVH         ,QFOXGHG     ✔ 1RW
    PRQH\VHFXULW\LQWHUHVWVHWRXWLQ*                                              ,QFOXGHG

                            <2855,*+76:,//%($))(&7('
5($'7+,63/$1&$5()8//<,I\RXRSSRVHDQ\SURYLVLRQRIWKLVSODQ\RXPXVWILOHD
WLPHO\ZULWWHQREMHFWLRQ7KLVSODQPD\EHFRQILUPHGDQGEHFRPHELQGLQJRQ\RXZLWKRXWIXUWKHU
QRWLFHRUKHDULQJXQOHVVDZULWWHQREMHFWLRQLVILOHGEHIRUHWKHGHDGOLQHVWDWHGRQWKH1RWLFH
LVVXHGLQFRQQHFWLRQZLWKWKHILOLQJRIWKHSODQ




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 3/$1)81',1*$1'/(1*7+2)3/$1

  $ 3ODQ3D\PHQWV)URP)XWXUH,QFRPH

                                          0.00
             7RGDWHWKH'HEWRUSDLGBBBBBBBBBBBB     HQWHULIQRSD\PHQWVKDYHEHHQ
               PDGHWRWKH7UXVWHHWRGDWH 'HEWRUVKDOOSD\WRWKH7UXVWHHIRUWKHUHPDLQLQJ
               WHUPRIWKHSODQWKHIROORZLQJSD\PHQWV,IDSSOLFDEOHLQDGGLWLRQWRPRQWKO\
               SODQSD\PHQWV'HEWRUVKDOOPDNHFRQGXLWSD\PHQWVWKURXJKWKH7UXVWHHDVVHW
                                                    163,620.00
               IRUWKEHORZ7KHWRWDOEDVHSODQLVBBBBBBBBBBBBBBBSOXVRWKHUSD\PHQWVDQG
               SURSHUW\VWDWHGLQ%EHORZ

   6WDUW           (QG             3ODQ          (VWLPDWHG      7RWDO           7RWDO
  PP\\\\         PP\\\\        3D\PHQW          &RQGXLW      0RQWKO\        3D\PHQW
                                                    3D\PHQW       3D\PHQW        2YHU3ODQ
                                                                                     7LHU
   2/2023           1/2026         $4545.00           $0.00        $4545.00       $163,620.00




                                                                         7RWDO $163,620.00
                                                                     3D\PHQWV

             ,IWKHSODQSURYLGHVIRUFRQGXLWPRUWJDJHSD\PHQWVDQGWKHPRUWJDJHHQRWLILHV
               WKH7UXVWHHWKDWDGLIIHUHQWSD\PHQWLVGXHWKH7UXVWHHVKDOOQRWLI\WKH'HEWRU
               DQGDQ\DWWRUQH\IRUWKH'HEWRULQZULWLQJWRDGMXVWWKHFRQGXLWSD\PHQWVDQG
               WKHSODQIXQGLQJ'HEWRUPXVWSD\DOOSRVWSHWLWLRQPRUWJDJHSD\PHQWVWKDW
               FRPHGXHEHIRUHWKHLQLWLDWLRQRIFRQGXLWPRUWJDJHSD\PHQWV

             'HEWRUVKDOOHQVXUHWKDWDQ\ZDJHDWWDFKPHQWVDUHDGMXVWHGZKHQQHFHVVDU\WR
               FRQIRUPWRWKHWHUPVRIWKHSODQ

             &+(&.21(  'HEWRULVDWRUXQGHUPHGLDQLQFRPH,IWKLVOLQHLV
               FKHFNHGWKHUHVWRI$QHHGQRWEHFRPSOHWHGRUUHSURGXFHG

                                 
                                  ✔ 'HEWRULVRYHUPHGLDQLQFRPH'HEWRUHVWLPDWHVWKDWD
                                              66,401.68
                                PLQLPXPRIBBBBBBBBBBBBBBBPXVWEHSDLGWRDOORZHG
                                XQVHFXUHGFUHGLWRUVLQRUGHUWRFRPSO\ZLWKWKH0HDQV7HVW




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  % $GGLWLRQDO3ODQ)XQGLQJ)URP/LTXLGDWLRQRI$VVHWV2WKHU

                 7KH'HEWRUHVWLPDWHVWKDWWKHOLTXLGDWLRQYDOXHRIWKLVHVWDWHLV
                     99730.79
                   BBBBBBBBBBBB   /LTXLGDWLRQYDOXHLVFDOFXODWHGDVWKHYDOXHRIDOOQRQ
                   H[HPSWDVVHWVDIWHUWKHGHGXFWLRQRIYDOLGOLHQVDQGHQFXPEUDQFHVDQG
                   EHIRUHWKHGHGXFWLRQRI7UXVWHHIHHVDQGSULRULW\FODLPV 

     Check one of the following two lines.

      ✔
     BBB      1RDVVHWVZLOOEHOLTXLGDWHGIf this line is checked, VNLS%DQGFRPSOHWH%
              LIDSSOLFDEOH

     BBB     &HUWDLQDVVHWVZLOOEHOLTXLGDWHGDVIROORZV

                 ,QDGGLWLRQWRWKHDERYHVSHFLILHGSODQSD\PHQWV'HEWRUVKDOOGHGLFDWHWR
                   WKHSODQSURFHHGVLQWKHHVWLPDWHGDPRXQWRIBBBBBBBBBBBBB IURPWKHVDOH
                   RISURSHUW\NQRZQDQGGHVLJQDWHGDV BBBBBBBBBBBBBBBBBBB
                   BBBBBBBBBBBBBBBBBBBBBBBBBBBB $OOVDOHVVKDOOEHFRPSOHWHGE\
                   BBBBBBBBBBBBBBBBBBB BBB ,IWKHSURSHUW\GRHVQRWVHOOE\WKHGDWH
                   VSHFLILHGWKHQWKHGLVSRVLWLRQRIWKHSURSHUW\VKDOOEHDVIROORZV
                    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

                 2WKHUSD\PHQWVIURPDQ\VRXUFH V  GHVFULEHVSHFLILFDOO\ VKDOOEHSDLGWR
                   WKH7UXVWHHDVIROORZV




 6(&85('&/$,06

  $ 3UH&RQILUPDWLRQ'LVWULEXWLRQVCheck one.

   ✔
  BBB     1RQHIf “None” is checked, the rest of § 2.A need not be completed or reproduced.

  BBB   $GHTXDWHSURWHFWLRQDQGFRQGXLWSD\PHQWVLQWKHIROORZLQJDPRXQWVZLOOEHSDLGE\
         WKH'HEWRUWRWKH7UXVWHH7KH7UXVWHHZLOOGLVEXUVHWKHVHSD\PHQWVIRUZKLFKDSURRI
         RIFODLPKDVEHHQILOHGDVVRRQDVSUDFWLFDEOHDIWHUUHFHLSWRIVDLGSD\PHQWVIURPWKH
         'HEWRU




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                      1DPHRI&UHGLWRU                          /DVW)RXU'LJLWV       (VWLPDWHG
                                                                   RI$FFRXQW           0RQWKO\
                                                                     1XPEHU             3D\PHQW




           7KH7UXVWHHZLOOQRWPDNHDSDUWLDOSD\PHQW,IWKH'HEWRUPDNHVDSDUWLDOSODQ
             SD\PHQWRULILWLVQRWSDLGRQWLPHDQGWKH7UXVWHHLVXQDEOHWRSD\WLPHO\DSD\PHQW
             GXHRQDFODLPLQWKLVVHFWLRQWKH'HEWRU¶VFXUHRIWKLVGHIDXOWPXVWLQFOXGHDQ\
             DSSOLFDEOHODWHFKDUJHV

           ,IDPRUWJDJHHILOHVDQRWLFHSXUVXDQWWR)HG5%DQNU3 E WKHFKDQJHLQ
             WKHFRQGXLWSD\PHQWWRWKH7UXVWHHZLOOQRWUHTXLUHPRGLILFDWLRQRIWKLVSODQ

      % 0RUWJDJHV ,QFOXGLQJ&ODLPV6HFXUHGE\'HEWRU¶V3ULQFLSDO5HVLGHQFH DQG2WKHU
         'LUHFW3D\PHQWVE\'HEWRUCheck one.

      BBB    1RQHIf “None” is checked, the rest of § 2.B need not be completed or reproduced.

       ✔
      BBB   3D\PHQWVZLOOEHPDGHE\WKH'HEWRUGLUHFWO\WRWKHFUHGLWRUDFFRUGLQJWRWKHRULJLQDO
             FRQWUDFWWHUPVDQGZLWKRXWPRGLILFDWLRQRIWKRVHWHUPVXQOHVVRWKHUZLVHDJUHHGWRE\
             WKHFRQWUDFWLQJSDUWLHV$OOOLHQVVXUYLYHWKHSODQLIQRWDYRLGHGRUSDLGLQIXOOXQGHU
             WKHSODQ

       1DPHRI&UHGLWRU                    'HVFULSWLRQRI&ROODWHUDO               /DVW)RXU'LJLWV
                                                                                       RI$FFRXQW
                                                                                         1XPEHU
Mr. Cooper                         residence located at 253 Mainzer Road,                 0914
                                   Danville, PA 17821

Capital One Auto Finance           2015 Ford Explorer                                     9064


First National Bank                2017 Ford F-150                                        6380




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      & $UUHDUV ,QFOXGLQJEXWQRWOLPLWHGWRFODLPVVHFXUHGE\'HEWRU¶VSULQFLSDO
         UHVLGHQFH Check one.

      BBB    1RQHIf “None” is checked, the rest of § 2.C need not be completed or reproduced.

       ✔
      BBB    7KH7UXVWHHVKDOOGLVWULEXWHWRHDFKFUHGLWRUVHWIRUWKEHORZWKHDPRXQWRIDUUHDUDJHV
             LQWKHDOORZHGFODLP,ISRVWSHWLWLRQDUUHDUVDUHQRWLWHPL]HGLQDQDOORZHGFODLP
             WKH\VKDOOEHSDLGLQWKHDPRXQWVWDWHGEHORZ8QOHVVRWKHUZLVHRUGHUHGLIUHOLHI
             IURPWKHDXWRPDWLFVWD\LVJUDQWHGDVWRDQ\FROODWHUDOOLVWHGLQWKLVVHFWLRQDOO
             SD\PHQWVWRWKHFUHGLWRUDVWRWKDWFROODWHUDOVKDOOFHDVHDQGWKHFODLPZLOOQR
             ORQJHUEHSURYLGHGIRUXQGHU E  RIWKH%DQNUXSWF\&RGH

    1DPHRI&UHGLWRU             'HVFULSWLRQRI         (VWLPDWHG (VWLPDWHG      (VWLPDWHG
                                   &ROODWHUDO           3UHSHWLWLRQ 3RVWSHWLWLRQ 7RWDO WR EH
                                                          $UUHDUVWR $UUHDUVWR SDLGLQSODQ
                                                          EH&XUHG     EH&XUHG

MC Federal Credit Union     residence located at 253    $80,000.00      $0.00          $80,000.00
                            Mainzer Hill Road




      ' 2WKHUVHFXUHGFODLPV FRQGXLWSD\PHQWVDQGFODLPVIRUZKLFKDYDOXDWLRQLV
         QRWDSSOLFDEOHHWF

       ✔
      BBB    1RQHIf “None” is checked, the rest of § 2.D need not be completed or reproduced.

      BBB   7KHFODLPVEHORZDUHVHFXUHGFODLPVIRUZKLFKDYDOXDWLRQLVQRWDSSOLFDEOH
             DQGFDQLQFOXGH  FODLPVWKDWZHUHHLWKHU D LQFXUUHGZLWKLQGD\VRIWKH
             SHWLWLRQGDWHDQGVHFXUHGE\DSXUFKDVHPRQH\VHFXULW\LQWHUHVWLQDPRWRUYHKLFOH
             DFTXLUHGIRUWKHSHUVRQDOXVHRIWKH'HEWRURU E LQFXUUHGZLWKLQ\HDURIWKH
             SHWLWLRQGDWHDQGVHFXUHGE\DSXUFKDVHPRQH\VHFXULW\LQWHUHVWLQDQ\RWKHUWKLQJRI
             YDOXH  FRQGXLWSD\PHQWVRU  VHFXUHGFODLPVQRWSURYLGHGIRUHOVHZKHUH




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          7KHDOORZHGVHFXUHGFODLPVOLVWHGEHORZVKDOOEHSDLGLQIXOODQGWKHLUOLHQV
            UHWDLQHGXQWLOWKHHDUOLHURIWKHSD\PHQWRIWKHXQGHUO\LQJGHEWGHWHUPLQHGXQGHU
            QRQEDQNUXSWF\ODZRUGLVFKDUJHXQGHURIWKH&RGH

          ,QDGGLWLRQWRSD\PHQWRIWKHDOORZHGVHFXUHGFODLPSUHVHQWYDOXHLQWHUHVW
            SXUVXDQWWR86& D  % LL ZLOOEHSDLGDWWKHUDWHDQGLQWKHDPRXQW
            OLVWHGEHORZXQOHVVDQREMHFWLRQLVUDLVHG,IDQREMHFWLRQLVUDLVHGWKHQWKHFRXUW
            ZLOOGHWHUPLQHWKHSUHVHQWYDOXHLQWHUHVWUDWHDQGDPRXQWDWWKHFRQILUPDWLRQ
            KHDULQJ

          8QOHVVRWKHUZLVHRUGHUHGLIWKHFODLPDQWQRWLILHVWKH7UXVWHHWKDWWKHFODLPZDV
            SDLGSD\PHQWVRQWKHFODLPVKDOOFHDVH

 1DPHRI&UHGLWRU         'HVFULSWLRQRI&ROODWHUDO      3ULQFLSDO      ,QWHUHVW 7RWDOWREH
                                                           %DODQFHRI       5DWH   3DLGLQ3ODQ
                                                             &ODLP




  ( 6HFXUHGFODLPVIRUZKLFKDYDOXDWLRQLVDSSOLFDEOH&KHFNRQH

   ✔
  BBB   1RQH,I³1RQH´LVFKHFNHGWKHUHVWRI(QHHGQRWEHFRPSOHWHGRUUHSURGXFHG
  BBB&ODLPVOLVWHGLQWKHVXEVHFWLRQDUHGHEWVVHFXUHGE\SURSHUW\QRWGHVFULEHGLQ'RI
           WKLVSODQ7KHVHFODLPVZLOOEHSDLGLQWKHSODQDFFRUGLQJWRPRGLILHGWHUPVDQGOLHQV
           UHWDLQHGXQWLOWKHHDUOLHURIWKHSD\PHQWRIWKHXQGHUO\LQJGHEWGHWHUPLQHGXQGHU
           QRQEDQNUXSWF\ODZRUGLVFKDUJHXQGHURIWKH&RGH7KHH[FHVVRIWKH
           FUHGLWRU¶VFODLPZLOOEHWUHDWHGDVDQXQVHFXUHGFODLP$Q\FODLPOLVWHGDV³´RU
           ³129$/8(´LQWKH³0RGLILHG3ULQFLSDO%DODQFH´FROXPQEHORZZLOOEHWUHDWHGDV
           DQXQVHFXUHGFODLP7KHOLHQVZLOOEHDYRLGHGRUOLPLWHGWKURXJKWKHSODQRU'HEWRU
           ZLOOILOHDQDGYHUVDU\RURWKHUDFWLRQ VHOHFWPHWKRGLQODVWFROXPQ 7RWKHH[WHQWQRW
           DOUHDG\GHWHUPLQHGWKHDPRXQWH[WHQWRUYDOLGLW\RIWKHDOORZHGVHFXUHGFODLPIRU
           HDFKFODLPOLVWHGEHORZZLOOEHGHWHUPLQHGE\WKHFRXUWDWWKHFRQILUPDWLRQKHDULQJ
           8QOHVVRWKHUZLVHRUGHUHGLIWKHFODLPDQWQRWLILHVWKH7UXVWHHWKDWWKHFODLPZDVSDLG
           SD\PHQWVRQWKHFODLPVKDOOFHDVH




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1DPHRI&UHGLWRU         'HVFULSWLRQRI       9DOXHRI ,QWHUHVW 7RWDO             3ODQ
                           &ROODWHUDO         &ROODWHUDO  5DWH 3D\PHQW          $GYHUVDU\
                                                0RGLILHG                            RU2WKHU
                                               3ULQFLSDO                            $FWLRQ




  ) 6XUUHQGHURI&ROODWHUDO&KHFNRQH

   ✔
  BBB   1RQH,I³1RQH´LVFKHFNHGWKHUHVWRI)QHHGQRWEHFRPSOHWHGRUUHSURGXFHG

  BBB 7KH'HEWRUHOHFWVWRVXUUHQGHUWRHDFKFUHGLWRUOLVWHGEHORZWKHFROODWHUDOWKDWVHFXUHV
        WKHFUHGLWRU¶VFODLP7KH'HEWRUUHTXHVWVWKDWXSRQFRQILUPDWLRQRIWKLVSODQRUXSRQ
        DSSURYDORIDQ\PRGLILHGSODQWKHVWD\XQGHU86& D EHWHUPLQDWHGDVWR
        WKHFROODWHUDORQO\DQGWKDWWKHVWD\XQGHUEHWHUPLQDWHGLQDOOUHVSHFWV$Q\
        DOORZHGXQVHFXUHGFODLPUHVXOWLQJIURPWKHGLVSRVLWLRQRIWKHFROODWHUDOZLOOEHWUHDWHG
        LQ3DUWEHORZ

      1DPHRI&UHGLWRU                     'HVFULSWLRQRI&ROODWHUDOWREH6XUUHQGHUHG




  * /LHQ$YRLGDQFH'RQRWXVHIRUPRUWJDJHVRUIRUVWDWXWRU\OLHQVVXFKDVWD[OLHQV&KHFN
     RQH

   ✔
  BBB   1RQH,I³1RQH´LVFKHFNHGWKHUHVWRI*QHHGQRWEHFRPSOHWHGRUUHSURGXFHG




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    BBB 7KH'HEWRUPRYHVWRDYRLGWKHIROORZLQJMXGLFLDODQGRUQRQSRVVHVVRU\QRQSXUFKDVH
          PRQH\OLHQVRIWKHIROORZLQJFUHGLWRUVSXUVXDQWWR I  WKLVVKRXOGQRWEHXVHG
          IRUVWDWXWRU\RUFRQVHQVXDOOLHQVVXFKDVPRUWJDJHV 

1DPHRI/LHQ+ROGHU


/LHQ'HVFULSWLRQ
)RUMXGLFLDOOLHQLQFOXGHFRXUW
DQGGRFNHWQXPEHU
'HVFULSWLRQRIWKH
OLHQHGSURSHUW\
/LHQHG$VVHW9DOXH
6XPRI6HQLRU/LHQV
([HPSWLRQ&ODLPHG
$PRXQWRI/LHQ
$PRXQW$YRLGHG


 35,25,7<&/$,06

   $ $GPLQLVWUDWLYH&ODLPV

          7UXVWHH¶V)HHV3HUFHQWDJHIHHVSD\DEOHWRWKH7UXVWHHZLOOEHSDLGDWWKHUDWHIL[HG
            E\WKH8QLWHG6WDWHV7UXVWHH

          $WWRUQH\¶VIHHV&RPSOHWHRQO\RQHRIWKHIROORZLQJRSWLRQV

                D ,QDGGLWLRQWRWKHUHWDLQHURIBBBBBBBBBBBBBDOUHDG\SDLGE\WKH'HEWRUWKH
                                                   1487.00
                                3013.00
                   DPRXQWRIBBBBBBBBBBBBBLQWKHSODQ7KLVUHSUHVHQWVWKHXQSDLGEDODQFHRIWKH
                   SUHVXPSWLYHO\UHDVRQDEOHIHHVSHFLILHGLQ/%5 F RU

                E BBBBBBBBBBBBBSHUKRXUZLWKWKHKRXUO\UDWHWREHDGMXVWHGLQDFFRUGDQFHZLWK
                   WKHWHUPVRIWKHZULWWHQIHHDJUHHPHQWEHWZHHQWKH'HEWRUDQGWKHDWWRUQH\
                   3D\PHQWRIVXFKORGHVWDUFRPSHQVDWLRQVKDOOUHTXLUHDVHSDUDWHIHHDSSOLFDWLRQ
                   ZLWKWKHFRPSHQVDWLRQDSSURYHGE\WKH&RXUWSXUVXDQWWR/%5 E 

          2WKHU2WKHUDGPLQLVWUDWLYHFODLPVQRWLQFOXGHGLQ$RU$DERYH&KHFN
                    RQHRIWKHIROORZLQJWZROLQHV

                 ✔
                BBB       1RQH,I³1RQH´LVFKHFNHGWKHUHVWRI$QHHGQRWEHFRPSOHWHGRU
                            UHSURGXFHG

                BBB        7KHIROORZLQJDGPLQLVWUDWLYHFODLPVZLOOEHSDLGLQIXOO

                                                          


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                                                                                       5HY




                 1DPHRI&UHGLWRU                             (VWLPDWHG7RWDO3D\PHQW




     % 3ULRULW\&ODLPV LQFOXGLQJFHUWDLQ'RPHVWLF6XSSRUW2EOLJDWLRQV

         $OORZHGXQVHFXUHGFODLPVHQWLWOHGWRSULRULW\XQGHU D ZLOOEHSDLGLQIXOO
         XQOHVVPRGLILHGXQGHU


                 1DPHRI&UHGLWRU                             (VWLPDWHG7RWDO3D\PHQW
Internal Revenue Service                                                $2978.43




     & 'RPHVWLF6XSSRUW2EOLJDWLRQVDVVLJQHGWRRURZHGWRDJRYHUQPHQWDOXQLWXQGHU
        86& D  % &KHFNRQHRIWKHIROORZLQJWZROLQHV.

          ✔
         BBB   1RQH,I³1RQH´LVFKHFNHGWKHUHVWRI&QHHGQRWEHFRPSOHWHGRU
                 UHSURGXFHG

         BBB    7KHDOORZHGSULRULW\FODLPVOLVWHGEHORZDUHEDVHGRQDGRPHVWLFVXSSRUW
                 REOLJDWLRQWKDWKDVEHHQDVVLJQHGWRRULVRZHGWRDJRYHUQPHQWDOXQLWDQGZLOOEH
                 SDLGOHVVWKDQWKHIXOODPRXQWRIWKHFODLP7KLVSODQSURYLVLRQUHTXLUHVWKDW
                 SD\PHQWVLQ$EHIRUDWHUPRIPRQWKV VHH86& D  

                 1DPHRI&UHGLWRU                             (VWLPDWHG7RWDO3D\PHQW




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 816(&85('&/$,06

   $ &ODLPVRI8QVHFXUHG1RQSULRULW\&UHGLWRUV6SHFLDOO\&ODVVLILHGCheck one of the
      following two lines.

      ✔
      BBB      1RQHIf “None” is checked, the rest of § 4.A need not be completed or
               reproduced.

      ___      7RWKHH[WHQWWKDWIXQGVDUHDYDLODEOHWKHDOORZHGDPRXQWRIWKHIROORZLQJ
               XQVHFXUHGFODLPVVXFKDVFRVLJQHGXQVHFXUHGGHEWVZLOOEHSDLGEHIRUHRWKHU
               XQFODVVLILHGXQVHFXUHGFODLPV7KHFODLPVKDOOEHSDLGLQWHUHVWDWWKHUDWHVWDWHG
               EHORZ,IQRUDWHLVVWDWHGWKHLQWHUHVWUDWHVHWIRUWKLQWKHSURRIRIFODLPVKDOO
               DSSO\

 1DPHRI&UHGLWRU              5HDVRQIRU6SHFLDO          (VWLPDWHG     ,QWHUHVW     (VWLPDWHG
                                  &ODVVLILFDWLRQ            $PRXQWRI       5DWH         7RWDO
                                                              &ODLP                      3D\PHQW




   % 5HPDLQLQJDOORZHGXQVHFXUHGFODLPVZLOOUHFHLYHDSURUDWDGLVWULEXWLRQRIIXQGV
      UHPDLQLQJDIWHUSD\PHQWRIRWKHUFODVVHV

 (;(&8725<&2175$&76$1'81(;3,5('/($6(6Check one of the following
   two lines.

   ✔
   BBB     1RQHIf “None” is checked, the rest of § 5 need not be completed or reproduced.

  ___    7KHIROORZLQJFRQWUDFWVDQGOHDVHVDUHDVVXPHG DQGDUUHDUVLQWKHDOORZHGFODLPWR
          EHFXUHGLQWKHSODQ RUUHMHFWHG

1DPHRI2WKHU         'HVFULSWLRQRI    0RQWKO\ ,QWHUHVW (VWLPDWHG           7RWDO   $VVXPH
   3DUW\               &RQWUDFWRU      3D\PHQW    5DWH   $UUHDUV            3ODQ  RU5HMHFW
                           /HDVH                                              3D\PHQW




                                                 


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 9(67,1*2)3523(57<2)7+((67$7(

    3URSHUW\RIWKHHVWDWHZLOOYHVWLQWKH'HEWRUXSRQ

    Check the applicable line:

    BBBSODQ FRQILUPDWLRQ
    BBBHQWU\RIGLVFKDUJH
     ✔ FORVLQJRIFDVH
    BBB


 ',6&+$5*( &KHFNRQH

     
      ✔  7KHGHEWRUZLOOVHHNDGLVFKDUJHSXUVXDQWWR D 
       7KHGHEWRULVQRWHOLJLEOHIRUDGLVFKDUJHEHFDXVHWKHGHEWRUKDVSUHYLRXVO\UHFHLYHGD
          GLVFKDUJHGHVFULEHGLQ I 

 25'(52)',675,%87,21

,IDSUHSHWLWLRQFUHGLWRUILOHVDVHFXUHGSULRULW\RUVSHFLDOO\FODVVLILHGFODLPDIWHUWKHEDUGDWH
WKH7UXVWHHZLOOWUHDWWKHFODLPDVDOORZHGVXEMHFWWRREMHFWLRQE\WKH'HEWRU




3D\PHQWVIURPWKHSODQZLOOEHPDGHE\WKH7UXVWHHLQWKHIROORZLQJRUGHU
/HYHOBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
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,IWKHDERYH/HYHOVDUHILOOHGLQWKHUHVWRIQHHGQRWEHFRPSOHWHGRUUHSURGXFHG,IWKHDERYH
/HYHOVDUHQRWILOOHGLQWKHQWKHRUGHURIGLVWULEXWLRQRISODQSD\PHQWVZLOOEHGHWHUPLQHGE\WKH
7UXVWHHXVLQJWKHIROORZLQJDVDJXLGH

/HYHO$GHTXDWHSURWHFWLRQSD\PHQWV
/HYHO'HEWRU¶VDWWRUQH\¶VIHHV
/HYHO'RPHVWLF6XSSRUW2EOLJDWLRQV
/HYHO3ULRULW\FODLPVSURUDWD
/HYHO6HFXUHGFODLPVSURUDWD
/HYHO6SHFLDOO\FODVVLILHGXQVHFXUHGFODLPV
/HYHO7LPHO\ILOHGJHQHUDOXQVHFXUHGFODLPV
/HYHO8QWLPHO\ILOHGJHQHUDOXQVHFXUHGFODLPVWRZKLFKWKH'HEWRUKDVQRWREMHFWHG


 12167$1'$5'3/$13529,6,216

,QFOXGHWKHDGGLWLRQDOSURYLVLRQVEHORZRURQDQDWWDFKPHQW$Q\QRQVWDQGDUGSURYLVLRQ
SODFHGHOVHZKHUHLQWKHSODQLVYRLG 127(7KHSODQDQGDQ\DWWDFKPHQWPXVWEHILOHGDV
RQHGRFXPHQWQRWDVDSODQDQGH[KLELW 




      1/12/2023
'DWHGBBBBBBBBBBBBBBB                   /s/ Leah M. Stump-Lesley
                                          BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                          $WWRUQH\IRU'HEWRU



                                          /s/ Dorsey M. Hauck Jr.
                                          BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                          'HEWRU

                                          /s/ Stephanie E. Hauck
                                          BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                          -RLQW'HEWRU


%\ILOLQJWKLVGRFXPHQWWKHGHEWRULIQRWUHSUHVHQWHGE\DQDWWRUQH\RUWKH$WWRUQH\IRU'HEWRU
DOVRFHUWLILHVWKDWWKLVSODQFRQWDLQVQRQRQVWDQGDUGSURYLVLRQVRWKHUWKDQWKRVHVHWRXWLQ



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